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’ Attorney for Plaintiffs, Raymond Yasmin Cabrera, Jr. and R.C. II
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10 UNITED STATES DISTRICT COURT
7 CENTRIAL DISTRICT OF CALIFORNIA
12
: Raymond Yasmin Cabrera, Jr. Case No.:
1 [en aminor by and COMPLAINT FOR VIOLATION OF
through his Guardian Ad Litem, CIVIL RIGHTS AND DAMAGES [42
16 |}Raymond Yasmin Cabrera, Jr., U.S.C. § 1983] and STATE LAW re
i, Pisteaia CAUSES OF ACTION FOR
° BATTERY, FALSE IMPRISONMENT,
oP ll NEGLIGENT INFLICTION OF
20 || ° EMOTIONAL DISTRESS, AND
21 County Of Riverside, Riverside INTENTIONAL INFLICTION OF
22 County Sheriff's Department, EMOTIONAL DISTRESS; and
23 || Former Sheriff Stanley Sniff. DEMAND FOR JURY TRIAL
24 || Sheriff Chad Bianco, Deputy E.
25 || Chavez, Deputy J. Knudson,
26 || Deputy J. Lopez, and Does 1-50,
47 || inclusive,
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6 Defendants.
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33. || Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
34 For Battery, False Imprisonment, Negligent Infliction Of
35 Of Emotional Distress, and Intentional Infliction Of

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Emotional Distress; and Demand For Jury Trial

 
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2 5:19-cv-00019-JGB-SHK Document1 Filed 01/03/19 Page 2 of 24 Page ID #:2

COMES NOW the Plaintiffs, Raymond Yasmin Cabrera, Jr., and R.C. II, by
and through his Guardian Ad Litem, Raymond Yasmin Cabrera, Jr., (hereinafter
collectively referred to as “Plaintiffs”), by and through their undersigned counsel,
who hereby complain and allege, as follows:

INTRODUCTION

1. This is an action brought pursuant to 42 U.S.C. § 1983 for deprivation of
civil rights under color of law, along with state law tort causes of action for battery,
false imprisonment, negligent infliction of emotional distress, and intentional
infliction of emotional distress challenging the actions, policies, customs, and
practices of Defendants, Former Riverside County Sheriff Stanley Sniff, Riverside
County Sheriff Chad Bianco, Riverside County Sheriff Department Deputy Sheriff E.
Chavez, Riverside County Sheriff Department Deputy Sheriff J. Knudson, and
Riverside County Sheriff Department Deputy Sheriff J. Lopez, and Does 1-50,
inclusive, violating the fundamental rights of Plaintiffs including, but not limited to,
being free from unreasonable searches and seizures and deprivations of due process
among other rights guaranteed by the United States Constitution.

2. The Defendants violated these rights of Plaintiffs when they unlawfully
stopped the vehicle being driven by Plaintiff, Raymond Yasmin Cabrera, Jr.,
(hereinafter referred to as “Plaintiff Mr. Cabrera”), proceeded to engage in an
unlawful and unlawfully prolonged detention of Plaintiff Mr. Cabrera, proceeded to

engage in an unlawful arrest and false imprisonment of Plaintiff Mr. Cabrera, and/or

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Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
For Battery, False Imprisonment, Negligent Infliction Of
Of Emotional Distress, and Intentional Infliction Of
Emotional Distress; and Demand For Jury Trial

 

 
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proceeded to engage in the unreasonable, unlawful, and excessive use of force
including, but not limited to, repeated baton strikes to the body of Plaintiff Mr.
Cabrera and the application of pepper spray to the face and body of Plaintiff Mr.
Cabrera, all of which occurred in the presence and view of the 6 year old son of
Plaintiff Mr. Cabrera, Plaintiff, R.C., III, (hereinafter referred to as “Plaintiff R.C.
II") who was a passenger in said vehicle, as well as the application of pepper spray
to the face and body of Plaintiff R.C. III, which all occurred in the presence and view
of Plaintiff Mr. Cabrera.

3. The Defendants further engaged in making factual assertions and drafting
police reports regarding Plaintiffs that contained material omissions and
misrepresentations intended to deceive and mislead anyone who read such reports to
reasonably believe that the actions of Defendants were lawful. A reasonable officer
in like or similar circumstances would have known not to engage in the making and
drafting of such material omissions and misrepresentations.

4. The policies, customs, and practices of the Defendants contributed to said
violations of rights of Plaintiffs.

JURISDICTION AND VENUE

5. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331
and 1343 and 42 U.S.C. § 1983 because this action seeks to redress the deprivation,
under color of the laws, ordinances, statutes, regulations, customs, and usages of the

Defendants as they execute, administer, and enforce the complained of actions,

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Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
For Battery, False Imprisonment, Negligent Infliction Of
Of Emotional Distress, and Intentional Infliction Of
Emotional Distress; and Demand For Jury Trial

 
 

Case 5:19-cv-00019-JGB-SHK Document1 Filed 01/03/19 Page 4of24 Page ID#:4
1 || policies, customs, and practices, of the rights, privileges, or immunities secured by
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3 the United States Constitution and by Acts of Congress, as well as the California
4 ||Constitution and statutes of the California Legislature.
? 6. This Court has supplemental jurisdiction over the state claims as alleged in
6
z ||the Complaint pursuant to 28 U.S.C. §§ 1367(a) because all of the causes of action or
8 || claims derived from federal law and those arising under state law, as herein alleged,
o .
19 {| arose from a common nucleus of operative facts and are so related that they form part
11 |}of the same controversy and the actions would ordinarily be expected to be tried in
'2 | the same judicial proceedings.
13
14 7. This Court has personal jurisdiction over each of the Defendants because
15 ||they acted under the color of laws, policies, customs, and/or practices of the County
16 _ Gi ——
13 of Riverside and/or within the geographic confines of the County of Riverside and/or,
18 || based upon information and belief, are residents of this District and this State.
19 8. Venue is proper pursuant to 28 U.S.C. § 1391 because the Defendants
20
21 ||executed, administered, and enforced the complained of actions, policies, customs,
22 |l and practices against Plaintiffs in this District, the claim, incident, events, and/or
23
3A omissions giving rise to this action harmed Plaintiffs in this District, and/or, based
25 |/upon information and belief, the individual Defendants reside in this District and this
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: State.
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28 THE PARTIES
29 9. Plaintiff Mr. Cabrera, is an individual and, at all times mentioned herein,
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33 || Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
34 For Battery, False Imprisonment, Negligent Infliction Of
35 Of Emotional Distress, and Intentional Infliction Of
36 Emotional Distress; and Demand For Jury Trial
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Case 5:19-cv-00019-JGB-SHK Document1 Filed 01/03/19 Page5of24 Page ID#:5
1 || was a citizen of the United States residing in the County of Riverside, State of
, California, and is bringing this action both individually and as the Guardian Ad Litem
4 ||on behalf of his son, Plaintiff R.C. IIL.
5 10. Plaintiff R.C. [I is an individual and, at all times mentioned herein, was a
’ citizen of the United States residing in the County of Riverside, State of California,
8 |)and being a minor is bringing this action by and through his Guardian Ad Litem, his
father, Plaintiff Mr. Cabrera.
11 11. Defendant, County of Riverside, (hereinafter referred to as “Defendant
12 | Riverside County”) is a county and political subdivision, organized and existing
" under the Constitution and laws of the State of California with the capacity to sue and
IS l|be sued. Defendant Riverside County, governed by a Board of Supervisors, is
. authorized to maintain a Sheriff's Department that acts as its agent in the area of law
18 |}enforcement and for which it is ultimately responsible. Defendant Riverside County
1? llassumes the risks incidental to the maintenance of its Sheriffs Department and is
o charged with enforcement of all state and county laws and ordinances within the
22 ||County of Riverside and the employment of its deputies. Defendant Riverside
n County has direct supervisory authority over Defendant, Riverside County Sheriff's
25 || Department, (hereinafter referred to as “Defendant RSO”) and Defendant and Former
. Sheriff, Stanley Sniff, (hereinafter referred to as “Defendant Former Sheriff Sniff °),
2g ||Defendant and Sheriff, Chad Bianco, (hereinafter referred to as “Defendant Sheriff
29 Bianco”) and the deputies therein, and the policies, practices, and customs of
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33, || Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
34 For Battery, False Imprisonment, Negligent Infliction Of
35 Of Emotional Distress, and Intentional Infliction Of
36 Emotional Distress; and Demand For Jury Trial
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1 || Defendant RSO, along with the enforcement and implementation thereof, are the
policies, practices, and customs of Defendant Riverside County for purposes of
4 municipal liability. Defendant Riverside County is, and at all times mentioned herein
> || was, responsible for policy making, hiring, supervision, training, control, and
° retention of the individually named Defendant Former Sheriff Sniff, Defendant
8 || Sheriff Bianco, and Deputies of Defendant Riverside County named herein.
o 12. Defendant RSO is a public entity and law enforcement agency organized
11 |/and existing under the laws of the State of California, and as a department of
12 | Defendant Riverside County.
o 13. Defendant Former Sheriff Sniff is sued herein in his capacity as the former
13 || Sheriff-Coroner of Defendant Riverside County, and, in his official capacity, was
. responsible for implementation of, executing and administering the actions, laws,
18 |)cCustoms, practices, and policies of Defendant Riverside County. In that capacity,
0 based upon information and belief, Defendant Former Sheriff Sniff was, and at all
21 ||times herein mentioned was, enforcing the laws, customs, practices, and policies
22 || complained of in this action, at all times has acted under color of his authority as the
i, Sheriff of Defendant Riverside County. Defendant Former Sheriff Smith, based upon
25 |/information and belief, was, and at all times mentioned herein was, the chief policy
. maker and supervisor for Defendant RSO of Defendant Riverside County and the
28 || Official responsible for the management, operation, and oversight of Defendant RSO
2? |! including, but not limited to, hiring, operations protocols, training, discipline, and/or
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33 || Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
34 For Battery, False Imprisonment, Negligent Infliction Of
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e 5:19-cv-00019-JGB-SHK Document1 Filed 01/03/19 Page 7 of 24 Page ID #:7

 

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supervision of employees of Defendant RSO including, but not limited to, the
individual Defendants herein. Defendant Former Sheriff Smith, based upon
information and belief, established all policies, practices, and procedures and
directed, supervised, condoned, and/or acquiesced in the unconstitutional conduct of
the individual Defendants herein. The policies, both express and de facto, established
by Defendant Former Sheriff Sniff are, and at all times mentioned herein were, the
policies of Defendant RSO and Defendant Riverside County and caused the
constitutional deprivations suffered by Plaintiffs.

14. Defendant Sheriff Bianco is sued herein in his capacity as the Sheriff-
Coroner of Defendant Riverside County, and, in his official capacity, is responsible
for implementation of, executing and administering the actions, laws, customs,
practices, and policies of Defendant Riverside County. In that capacity, based upon
information and belief, Defendant Sheriff Bianco is enforcing the laws, customs,
practices, and policies complained of in this action, and at all times is acting under
color of his authority as the Sheriff of Defendant Riverside County. Defendant
Sheriff Bianco, based upon information and belief, is the chief policy maker and
supervisor for Defendant RSO of Defendant Riverside County and the official
responsible for the management, operation, and oversight of Defendant RSO
including, but not limited to, hiring, operations protocols, training, discipline, and/or
Supervision of employees of Defendant RSO including, but not limited to, the

individual Defendants herein. Defendant Sheriff Bianco, based upon information and

 

Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
For Battery, False Imprisonment, Negligent Infliction Of
Of Emotional Distress, and Intentional Infliction Of
Emotional Distress; and Demand For Jury Trial

 
 

Cage 5:19-cv-00019-JGB-SHK Document1 Filed 01/03/19 Page 8 of 24 Page ID #:8
1 || belief, establishes all policies, practices, and procedures and directed, supervised,
; condoned, and/or acquiesced in the unconstitutional conduct of the individual
4 || Defendants herein. The policies, both express and de facto, established by Defendant
> || Sheriff Bianco are the policies of Defendant RSO and Defendant Riverside County
6
7 |/and the continuing cause of the constitutional deprivations suffered by Plaintiffs.
8 15. Deputies E. Chavez, J. Knudsen, J. Lopez, and Does 1-40 (hereinafter
9 . . .
10 collectively referred to as “Defendant Deputies”) are deputy sheriffs employed by
11 |}and/or acting as agents and/or representatives of Defendant RSO and Defendant
12 || Riverside County whose actions, in addition to those actions already described,
13
14 || assisted and/or contributed to the unlawful, unconstitutional, and tortious conduct that
IS || resulted in the unlawful stopping of the vehicle being driven by Plaintiff Mr. Cabrera,
16
7 unlawful and unlawfully prolonged detention of Plaintiff Mr. Cabrera, unlawful arrest
18 |}and false imprisonment of Plaintiff Mr. Cabrera, and/or the unreasonable, unlawful,
19 | and excessive use of force including, but not limited to, repeated baton strikes to the
20
21 || body of Plaintiff Mr. Cabrera and the application of pepper spray to the face and
22 || body of Plaintiff Mr. Cabrera, all of which occurred in the presence and view of the 6
23
54 ||year old son of Plaintiff Mr. Cabrera, Plaintiff R.C. IIT who was a passenger in said
25 |) vehicle, as well as the application of pepper spray to the face and body of Plaintiff
i. R.C. OI, which all occurred in the presence and view of Plaintiff Mr. Cabrera, and
28 ||resulting damages. The identity of Defendant Does 1-40 are currently unknown to
*9 |! Plaintiffs, who reserve the right to amend this complaint to further identify them
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3 || Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C, § 1983] and State Law Tort Causes Of Action
34 For Battery, False Imprisonment, Negligent Infliction Of
35 Of Emotional Distress, and Intentional Infliction Of
36 Emotional Distress; and Demand For Jury Trial
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when such information becomes available through discovery or otherwise.
Defendant Deputies, Defendant Former Sheriff Smith, and Defendant Sheriff Bianco
are, and at all times mentioned herein were, acting under color of state law and in the
course and scope of their respective employment as a sworn law enforcement officer
with Defendant RSO and Defendant Riverside County. Defendant Deputies,
Defendant Former Sheriff Smith, and Defendant Sheriff Bianco are, and at all times
mentioned herein were, knowingly aiding and abetting or acting in concert with each
other with respect to each act or omission alleged in this Complaint.

16. All Defendants are sued in their official capacities for damages arising
from violations of 42 U.S.C. § 1983.

17. Defendant Deputies, Defendant Former Sheriff Sniff, and Defendant
Sheriff Bianco are also sued in their individual capacities for their violations of the
clearly established Fourth and Fourteenth Amendment rights of Plaintiffs.

FACTUAL ALLEGATIONS

18. On September 9, 2016, Defendant, E. Chavez, (hereinafter referred to as
“Defendant Deputy Chavez”) effectuated a vehicle stop of Plaintiff Mr. Cabrera that,
based upon information and belief, was premised upon fabricated events to support a
California Vehicle Code violation of Section 27315 (d), commonly known as a failure
to wear a seat belt. This vehicle stop occurred within approximately five (5) homes
of the residence of Plaintiff Mr. Cabrera, in Mecca, Riverside County, California.

19. Defendant Deputy Chavez, based upon information and belief, then

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Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
For Battery, False Imprisonment, Negligent Infliction Of
Of Emotional Distress, and Intentional Infliction Of
Emotional Distress; and Demand For Jury Trial

 

 

 
 

Cage 5:19-cv-00019-JGB-SHK Document1 Filed 01/03/19 Page 10o0f24 Page ID #:10
1 ||proceeded to unreasonably and unlawfully escalate the circumstances with Plaintiff
: Mr. Cabrera by ordering him out of his vehicle, which Plaintiff Mr. Cabrera timely
4 ||complied with by exiting his vehicle. Defendant Deputy Chavez, based upon
> llinformation and belief, then proceeded to further unreasonably and unlawfully
° escalate the circumstances with Plaintiff Mr. Cabrera by seeking to place him in
8 ||handcuffs, disregarding the physical/medical/health condition of Plaintiff Mr.
x Cabrera, engaging in verbal violence, and then engaging in physical violence and the
11 || unreasonable and excessive use of force by striking Plaintiff Mr. Cabrera about his
iB body repeatedly with his RSO Department issued Rapid Containment Baton (RCB).
, The more Plaintiff Mr. Cabrera attempted to avoid being struck with the RCB by
15 |) Defendant Deputy Chavez, the more aggressive Defendant Deputy Chavez became
towards Plaintiff Mr. Cabrera with his RCB striking actions to the body of Plaintiff
18 ||Mr. Cabrera and then spraying Plaintiff Mr. Cabrera repeatedly to the face, as well as
5 Plaintiff R.C. TI, with RSO Department issued Sabre Red oleoresin capsicum spray
31 ||(O.C. Spray) and commonly referred to as pepper spray. At no time, during any of
22 \Ithe foregoing actions, did Plaintiff Mr. Cabrera make any advances or movements
7 towards Defendant Deputy Chavez, as all of his movements were attempting to
25 ||escape and avoid being struck with the RCB and then the O.C. Spray.
20. Plaintiff RC III, during the events set forth in the preceding paragraph and
2g ||upon watching the aforementioned overly aggressive, unreasonable, and excessive
29 lluse of force, and unlawful actions being taken towards his father, Plaintiff Mr.
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33 || Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
34 For Battery, False Imprisonment, Negligent Infliction Of
35 Of Emotional Distress, and Intentional Infliction Of
36 Emotional Distress; and Demand For Jury Trial
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5:19-cv-00019-JGB-SHK Document1 Filed 01/03/19 Page 11of24 Page ID #11

Cabrera, by Defendant Deputy Chavez, exited the vehicle in which he had been a
passenger and Plaintiff Mr. Cabrera had been driving, and he too was unreasonably
and unlawfully sprayed with O.C. Spray by Defendant Deputy Chavez.

21. Defendant, Deputy J. Knudson, (hereinafter referred to as “Defendant
Deputy Knudson”) and Defendant, Deputy J. Lopez, (hereinafter referred to as
“Defendant Deputy Lopez”) responded to the scene of said vehicle stop premised
upon a purported failure to wear a seat belt to assist Defendant Deputy Chavez
regarding the aforementioned circumstances that Defendant Deputy Chavez had
created through his aforementioned unreasonable, overly aggressive, and excessive
use of force unlawful actions. Defendant Deputy Knudson, with assistance from
Defendant Deputy Lopez, engaged in a DUI investigation that they created based
upon fabricated symptoms being exhibited by Plaintiff Mr. Cabrera and knowingly
and intentionally falsely determined Plaintiff Mr. Cabrera to be in violation of the
Vehicle Code Section for driving a vehicle while under the influence of alcohol
(commonly known as DUI in violation of Vehicle Code, Section 23 152(a)).

22. In accordance with the foregoing circumstances, Plaintiff Mr. Cabrera was
unlawfully placed under arrest and incarcerated within the jail facility of Defendant
RSO by Defendants for, among other things, trumped up charges falsely asserting
felony threatening of a police officer in violation of Penal Code, Section 69 and
misdemeanor DUI.

23. In accordance with the foregoing described circumstances, Defendants

Ld.

 

Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
For Battery, False Imprisonment, Negligent Infliction Of
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P 5:19-cv-00019-JGB-SHK Document1 Filed 01/03/19 Page 12 of 24 Page ID #12

unlawfully stopped the vehicle being driven by Plaintiff Mr. Cabrera, unlawfully
detained and/or unlawfully prolonged the detention of Plaintiff Mr. Cabrera,
unlawfully arrested and falsely imprisoned Plaintiff Mr. Cabrera, and/or engaged in
the excessive, unreasonable, and unlawful use of force including, but not limited to,
RCB strikes to the body of Plaintiff Mr. Cabrera and the application of O.C. Spray to
the face and body of Plaintiff Mr. Cabrera, all of which occurred in the presence and
view of the 6 year old son of Plaintiff Mr. Cabrera, Plaintiff R.C. TI] who also
suffered O.C. Spray to his face and body, which all occurred in the presence and view
of Plaintiff Mr. Cabrera in violation of their constitutional rights including, but not
limited to such rights protected by the 4" and 14 Amendments to the United States
Constitution and the similar constitutions protections in the California Constitution.
24. At the time of said vehicle stop of Plaintiffs by Defendant Deputy Chavez
and all of the events that occurred through and after the time of the arrival at the
scene of said vehicle stop of Defendant Deputy Knudson and Defendant Deputy
Lopez, each of these three Defendants chose to intentionally mislead, deceive, and
otherwise make material omissions in the content of their respective police reports
purportedly prepared to falsely and dishonestly memorialize said vehicle stop and
events as if they were true and accurate as to how such events actually occurred for
the purpose of misleading and deceiving any readers of such reports that they had
carried out their law enforcement responsibilities as to Plaintiffs in a lawfully

reasonable manner.

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Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
For Battery, False Imprisonment, Negligent Infliction Of
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P 5:19-cv-00019-JGB-SHK Document1 Filed 01/03/19 Page 13 of 24 Page ID #:13

25. On or about March 8, 2017, Plaintiffs had delivered a claim to Defendants
for the injuries, disability, losses, and damages suffered and incurred by them by
reason of the above-described occurrence, all in compliance with the requirements of
Section 905 of the Government Code. A copy of the claim is attached hereto as
Exhibit A and made a part hereof.

26. Thereafter, Defendants rejected the claim in its entirety.

27. On or about October 31, 2016, the Riverside County District Attorney
filed a Felony Complaint commencing a felony criminal prosecution of Plaintiff Mr.
Cabrera premised upon the aforementioned police reports generated by Defendant
Deputy Chavez, Defendant Deputy Knudson, and Defendant Deputy Lopez.

28. On July 3, 2018, the aforementioned criminal prosecution of Plaintiff Mr.
Cabrera was resolved by Plaintiff Mr. Cabrera pleading nolo contendre (no contest)
to the Court regarding all of the charges alleged against him, now misdemeanors, and

being sentenced accordingly.

FIRST CAUSE OF ACTION
(Violation Of Civil Rights — 42 U.S.C. § 1983)

29. Plaintiffs incorporate and reallege by reference the foregoing paragraphs 1
through 24, inclusive, as if they were fully set forth herein.

30. Defendant Deputy Chavez violated the rights of Plaintiff Mr. Cabrera and
Plaintiff R.C. III under the 4" and 14" Amendments to the United States Constitution

by actions including, but not limited to, unlawfully stopping the vehicle being driven

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Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
For Battery, False Imprisonment, Negligent Infliction Of
Of Emotional Distress, and Intentional Infliction Of
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by Plaintiff Mr. Cabrera, unlawfully detaining and/or unlawfully prolonging the
detention of Plaintiff Mr. Cabrera, unlawfully arresting and falsely imprisoning
Plaintiff Mr. Cabrera, and/or engaging in the lawfully unreasonable and excessive use
of force including, but not limited to, RCB strikes to the body of Plaintiff Mr.
Cabrera and the application of O.C. Spray to the face and body of Plaintiff Mr.
Cabrera, all of which occurred in the presence and view of the 6 year old son of
Plaintiff Mr. Cabrera, Plaintiff R.C. II] who also suffered O.C. Spray to his face and
body, which all occurred in the presence and view of Plaintiff Mr. Cabrera.

31. Defendant Deputy Knudson and Defendant Deputy Lopez violated the
rights of Plaintiff Mr. Cabrera under the 4th and 14th Amendments to the United
States Constitution by actions including, but not limited to, unlawfully arresting and
falsely imprisoning Plaintiff Mr. Cabrera.

32. As a proximate result of the violations alleged in Paragraphs | through 24,
30, and 31, inclusive, Plaintiffs have suffered damages as heretofore alleged.

SECOND CAUSE OF ACTION

(Violation Of Civil Rights — 42 U.S.C. § 1983
Monell Claim Against Defendant Riverside County, Defendant RSO,
Defendant Former Sheriff Sniff, and Defendant Sheriff Bianco)

33. Plaintiffs incorporate and reallege by reference the foregoing paragraphs 1
through 24, 30, and 31, inclusive, as if they were fully set forth herein.
34. Defendant Former Sheriff Sniff and Defendant Sheriff Bianco had a duty

to adequately train, supervise, and discipline their deputy sheriffs in order to protect

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Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
For Battery, False Imprisonment, Negligent Infliction Of
Of Emotional Distress, and Intentional Infliction Of
Emotional Distress; and Demand For Jury Trial

 

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members of the public, including Plaintiffs, from being harmed by the deputy sheriffs
unnecessarily.

35. Said defendants were deliberately indifferent to such duties and thereby
proximately caused injury to Plaintiffs as complained of herein.

THIRD CAUSE OF ACTION
(Battery)

36. Plaintiffs incorporate and reallege by reference the foregoing paragraphs 1
through 28, 30, and 31, inclusive, as if they were fully set forth herein.

37. Plaintiff Mr. Cabrera is informed and believes and thereon alleges that at
the time of the above-described events, and at all other pertinent times, Defendants
had no warrant for the arrest of Plaintiff Mr. Cabrera or other facts or
information that constituted probable cause that Plaintiff Mr. Cabrera had ever
committed or was about to commit a crime, so as to provide grounds for a lawful
arrest, nor did Defendants have any facts or information that constituted a
reasonable suspicion that Plaintiff Mr. Cabrera was involved in any unlawful
activity so as to provide grounds for any detention or restraint whatsoever on
the freedom of movement of Plaintiff Mr. Cabrera, and that the detention and arrest
of Plaintiff Mr. Cabrera was, therefore, unlawful.

38. In doing the acts as alleged above, Defendants acted with the intent to
make a physical contact with the person of Plaintiff Mr. Cabrera.

39. At all times stated herein, Plaintiff Mr. Cabrera found the contact made

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Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
For Battery, False Imprisonment, Negligent Infliction Of
Of Emotional Distress, and Intentional Infliction Of
Emotional Distress; and Demand For Jury Trial

 
 

Cas# 5:19-cv-00019-JGB-SHK Document1 Filed 01/03/19 Page 16 of 24 Page ID #16
1 || with his person by Defendants to be harmful and offensive to his person and dignity.
: 40. At no time did Plaintiff Mr. Cabrera consent to any of the acts of
4 || Defendants alleged above.
5 41. Plaintiff Mr. Cabrera protested his innocence of the charge(s) being
6
7 || asserted against him, but otherwise did not attempt to flee or physically resist arrest
8 |/in any manner whatsoever.
9 : vaye _— .
‘ 42. Despite the willingness of Plaintiff Mr. Cabrera to submit to arrest,
11 ||Defendant Deputy Chavez unlawfully stopped the vehicle being driven by Plaintiff
12 Mr. Cabrera, unlawfully detained and/or unlawfully prolonged the detention of
3
14 || Plaintiff Mr. Cabrera, unlawfully arrested and falsely imprisoned Plaintiff Mr.
15 || Cabrera, and/or engaged in the unreasonable, excessive, and unlawful use of force
16 ||. ; e: . _—
7 including, but not limited to, RCB strikes to the body of Plaintiff Mr. Cabrera and the
18 || application of O.C. Spray to the face and body of Plaintiff Mr. Cabrera, all of which
19 Vf occurred in the presence and view of the 6 year old son of Plaintiff Mr. Cabrera,
20
21 || Plaintiff R.C. III who also suffered O.C. Spray to his face and body, which all
22 || occurred in the presence and view of Plaintiff Mr. Cabrera.
23
oA 43. In doing the acts as alleged above, Defendants acted with the intent to
25 ||make physical contact with the person of both Plaintiff Mr. Cabrera and Plaintiff R.C.
°6 |,
27
28 44. At no time did Plaintiff Mr. Cabrera or Plaintiff R.C. III consent to any of
29 || the acts of Defendants alleged above.
30
31 16
32
33 || Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
34 For Battery, False Imprisonment, Negligent Infliction Of
35 Of Emotional Distress, and Intentional Infliction Of
36 Emotional Distress; and Demand For Jury Trial
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Cas# 5:19-cv-00019-JGB-SHK Document1 Filed 01/03/19 Page17 of 24 Page ID#:17
1 45. As a proximate result of the acts of Defendants, Plaintiff R.C. IIT was hurt
3 and injured to his health, strength, and activity, sustaining injury to his nervous
4 || System and person, all of which have caused, and continue to cause, Plaintiff R.C. III
> |/ great mental, physical, and nervous pain and suffering including, but not limited to
6
7 || nightmares, separation anxiety, and injuries to his eyes and face. Plaintiff R.C. III is
8 /|informed and believes and thereon alleges that these injuries will result in some
19 {Permanent disability to him. As a result of these injuries, Plaintiff R.C. IIT has
11 ||suffered general damages.
R 46. As a further proximate result of Defendant’s acts, Plaintiff R.C. III has
13
14 ||incurred, and will continue to incur, medical and related expenses. The full amount of
15 || these expenses is not known to Plaintiff R.C. III at this time.
16 , Son gl
7 47. As a proximate result of the acts of Defendants, Plaintiff Mr. Cabrera was
18 |/hurt and injured to his health, strength, and activity, sustaining injury to his nervous
19 system and person, all of which have caused, and continue to cause, Plaintiff Mr.
20
21 ||Cabrera great mental, physical, and nervous pain and suffering including, but not
22 |! limited to injuries to his back, lower torso, eyes, and face. Plaintiff Mr. Cabrera is
23
aA informed and believes and thereon alleges that these injuries will result in some
25 ||permanent disability to him. As a result of these injuries, Plaintiff Mr. Cabrera has
. suffered general damages.
28 48. As a further proximate result of Defendant’s acts, Plaintiff Mr. Cabrera
°° |/has incurred, and will continue to incur, medical and related expenses. The full
30
31 Li
me
33 || Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
34 For Battery, False Imprisonment, Negligent Infliction Of
35 Of Emotional Distress, and Intentional Infliction Of
36 Emotional Distress; and Demand For Jury Trial
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5:19-cv-00019-JGB-SHK Document1 Filed 01/03/19 Page 18 of 24 Page ID #:18

amount of these expenses is not known to Plaintiff Mr. Cabrera at this time.

49. As a further proximate result of the acts of Defendants, Plaintiff Mr.
Cabrera was prevented from attending to his usual occupation in the field of
construction work for a period of time and thereby lost earnings to his damage.
Plaintiff thereby has lost and will lose earnings. As a further proximate result of the
acts of Defendants, the present and future earning capacity of Plaintiff Mr. Cabrera
has been greatly impaired.

50. The aforementioned conduct of Defendants was willful and malicious and
was intended to oppress and cause injury to Plaintiffs. Plaintiffs are therefore entitled
to an award of punitive damages.

FOURTH CAUSE OF ACTION
(False Imprisonment)

51. Plaintiffs incorporate and reallege by reference the foregoing paragraphs 1
through 28, 30 and 31, and 37 through 44, inclusive, as if they were fully set forth
herein.

52. The aforementioned actions of Defendants were malicious and without
warrant or order of commitment or any other legal authority of any kind, when
Plaintiff Mr. Cabrera had not committed any crime or public offense. Defendants
accused Plaintiff Mr. Cabrera of committing the offense of felony threatening of a
police officer in violation of Penal Code, Section 69 and misdemeanor DUI in

violation of Vehicle Code, Section 23152(a), but in fact such offenses had not

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Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
For Battery, False Imprisonment, Negligent Infliction Of
Of Emotional Distress, and Intentional Infliction Of
Emotional Distress; and Demand For Jury Trial

 
 

Cas# 5:19-cv-00019-JGB-SHK Document1 Filed 01/03/19 Page 19 of 24 Page ID#:19
1 |) occurred, nor did Defendants have probable cause to believe that they had occurred
2 ik .
3 || that Plaintiff Mr. Cabrera had committed them.
4 53. Defendants delivered Plaintiff Mr. Cabrera to the County Jail of Defendant
> ||RSO at Indio, Riverside County, California where Plaintiff Mr. Cabrera was
6
7 ||imprisoned for a period of time until his release was secured.

8 54. As a proximate result of the acts of Defendants herein alleged, Plaintiff
a . 5 ‘ ; .
10 (| 48 compelled to secure his release and the release of his vehicle, along with monies
11 ||expended for bail bond fees and attorney fees in the related criminal prosecution of

12 Whim.
13
14 55. As a proximate result of the acts of Defendants, Plaintiff Mr. Cabrera was
15 || hurt and injured to his health, strength, and activity, sustaining injury to his nervous
16 . ; Sn
- system and person, all of which have caused, and continue to cause, Plaintiff Mr.
18 ||Cabrera great mental, physical, and nervous pain and suffering including, but not
19 | imited to injuries to his back, legs, lower torso, eyes, and face. Plaintiff Mr. Cabrera
20
21 |[is informed and believes and thereon alleges that these injuries will result in some
22 || permanent disability to him. As a result of these injuries, Plaintiff Mr. Cabrera has
3
44 suffered general damages.
25 56. As a further proximate result of Defendant’s acts, Plaintiff Mr. Cabrera
2 . ; ‘ 5 :
. has incurred, and will continue to incur, medical and related expenses. The full
2g ||amount of these expenses is not known to Plaintiff Mr. Cabrera at this time.
29 57. As a further proximate result of the acts of Defendants, Plaintiff Mr.
2
31 19
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33 || Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
34 For Battery, False Imprisonment, Negligent Infliction Of
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5:19-cv-00019-JGB-SHK Document1 Filed 01/03/19 Page 20 of 24 Page ID #:20

Cabrera was prevented from attending to his usual occupation in the field of
construction work for a period of time and thereby lost earnings to his damage.
Plaintiff thereby has lost and will lose earnings. As a further proximate result of the
acts of Defendants, the present and future earning capacity of Plaintiff Mr. Cabrera
has been greatly impaired.

58. The acts of Defendants, as herein alleged, were willful, wanton, malicious,

and oppressive, and justify the awarding of punitive damages.

FIFTH CAUSE OF ACTION
(Negligent Infliction Of Emotional Distress)

59. Plaintiffs incorporate and reallege by reference the foregoing paragraphs |
through 28, 30 and 31, 37 through 44, and 52 through 53, inclusive, as if they were
fully set forth herein.

60. Defendants knew, or should have known, that the failure of each of them
to exercise due care in the performance of their law enforcement duties would cause
Plaintiffs, and each of them, severe emotional distress.

61. At all times herein mentioned, Plaintiffs were in close proximity to the
hereinabove-described actions of Defendants towards Plaintiff Mr. Cabrera and
Plaintiff R.C. IIL, respectively, and personally witnessed said actions of Defendants
towards the other of Plaintiff R.C. III and Plaintiff Mr. Cabrera, respectively.

62. Because of the negligence of Defendants and as a proximate result thereof,

Plaintiffs have each sustained severe emotional distress and mental suffering, all of

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Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
For Battery, False Imprisonment, Negligent Infliction Of
Of Emotional Distress, and Intentional Infliction Of
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5:19-cv-00019-JGB-SHK Document1 Filed 01/03/19 Page 21 o0f24 Page ID#:21

which has caused, continues to cause, and will cause each of them great physical and
mental pain and suffering, all to their damage.

63. Plaintiffs, and each of them, were reasonably required to and did incur
medical and incidental expenses for the examination, treatment, and care of these
injuries, the exact amount of which is unknown at this time. Plaintiffs are informed
and believe, and therefore allege, that each of them will in the future be reasonably
required to incur similar obligations.

64. Plaintiff Mr. Cabrera has lost wage benefits and has sustained an injury to
and an impairment of present and future earning capacity and the ability to engage in
gainful occupation and has thereby suffered damages.

SIXTH CAUSE OF ACTION
(Intentional Infliction Of Emotional Distress)

65. Plaintiffs incorporate and reallege by reference the foregoing paragraphs |
through 28, 30 and 31, 37 through 44, and 52 through 53, inclusive, as if they were
fully set forth herein.

66. Defendants knew, or should have known, that the failure of each of them
to exercise due care in the performance of their law enforcement duties would cause
Plaintiffs, and each of them, severe emotional distress.

67. The acts of Defendants, as herein alleged, were intentional and/or engaged
in with reckless disregard towards Plaintiffs.

68. The acts of Defendants, as herein alleged, were willful, wanton, malicious,

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Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
For Battery, False Imprisonment, Negligent Infliction Of
Of Emotional Distress, and Intentional Infliction Of
Emotional Distress; and Demand For Jury Trial

 
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5:19-cv-00019-JGB-SHK Document1 Filed 01/03/19 Page 22 of 24 Page ID #:22

and oppressive, and justify the awarding of punitive damages.

69. At all times herein mentioned, Plaintiffs were in close proximity to the
hereinabove-described actions of Defendants towards Plaintiff Mr. Cabrera and
Plaintiff R.C. III, respectively, and personally witnessed said actions of Defendants
towards the other of Plaintiff R.C. IIT and Plaintiff Mr. Cabrera, respectively.

70. Because of the negligence of Defendants and as a proximate result thereof,
Plaintiffs have each sustained severe emotional distress and mental suffering, all of
which has caused, continues to cause, and will cause each of them great physical and
mental pain and suffering, all to their damage.

71. Plaintiffs, and each of them, were reasonably required to and did incur
medical and incidental expenses for the examination, treatment, and care of these
injuries, the exact amount of which is unknown at this time. Plaintiffs are informed
and believe, and therefore allege, that each of them will in the future be reasonably
required to incur similar obligations.

72. Plaintiff Mr. Cabrera has lost wage benefits and has sustained an injury to
and an impairment of present and future earning capacity and the ability to engage in
gainful occupation and has thereby suffered damages.

PRAYER

WHEREFORE, Plaintiffs pray for judgment, as follows:

ON THE FIRST AND SECOND CAUSES OF ACTION

a. For compensatory damages to Plaintiffs for injury, emotional distress, and

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Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
For Battery, False Imprisonment, Negligent Infliction Of
Of Emotional Distress, and Intentional Infliction Of
Emotional Distress; and Demand For Jury Trial

 
 

Cas@| 5:19-cv-00019-JGB-SHK Document1 Filed 01/03/19 Page 23 of 24 Page ID #:23
1 || for medical expenses;
° b. For punitive damages against Defendant Deputy Chavez, Defendant Deputy
a
4 || Knudson, and Defendant Deputy Lopez, and each of them;
5 ON THE THIRD CAUSE OF ACTION
6
+ c. For general damages according to proof;
8 d. For medical and related expenses according to proof:
9 ¢ .
ig e. For lost earnings, past and future, according to proof:
11 f. For punitive damages;
12 g. For interest as allowed by law;
13
14 ON THE FOURTH CAUSE OF ACTION
15 h. For general damages according to proof;
16 . . :
17 1, For medical and related expenses according to proof:
18 j. For lost earnings, past and future, according to proof:
“ k. For punitive damages;
20
1 I. For interest as allowed by law;
22 ON THE FIFTH CAUSE OF ACTION
Zo
5A m. For general damages according to proof;
25 n. For medical and related expenses according to proof:
. o. For lost earnings, past and future, according to proof;
28 p. For interest as allowed by law;
an ON THE SIXTH CAUSE OF ACTION
30
31 23
D2.
33 || Case No. Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
34 For Battery, False Imprisonment, Negligent Infliction Of
35 Of Emotional Distress, and Intentional Infliction Of
36 Emotional Distress; and Demand For Jury Trial
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5:19-cv-00019-JGB-SHK Document1 Filed 01/03/19 Page 24 of 24 Page ID #:24

q. For general damages according to proof;

r. For medical and related expenses according to proof;

s. For lost earnings, past and future, according to proof;

t. For punitive damages;

u. For interest as allowed by law;

ON ALL CAUSES OF ACTION

v. For costs of suit incurred herein; and

w. Such other and further relief as the Court deems just and proper.

Dated: January 3, 2019

Respectfully submitted,
LAW OFFICE OF EUGENE B. STILLMAN

By:/s/ Eugene B. Stillman
Eugene B. Stillman
Attorney for Plaintiffs, Raymond Yasmin
Cabrera, Jr. and R.C. II

JURY DEMAND

Plaintiffs hereby demand that this matter be tried to a jury.

Dated: January 3, 2019

Respectfully submitted,
LAW OFFICE OF EUGENE B. STILLMAN

By:/s/ Eugene B. Stillman
Eugene B. Stillman
Attorney for Plaintiffs, Raymond Yasmin

Cabrera, Jr. and R.C. III
24

 

 

Case No.

Complaint For Violation Of Civil Rights And Damages
[42 U.S.C. § 1983] and State Law Tort Causes Of Action
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